






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00470-CR







Gelacio Perez Lozada, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. CR21,263, HONORABLE ED MAGRE, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



In August 2006, appellant Gelacio Perez Lozada pleaded guilty to aggravated assault
with a deadly weapon.  See Tex. Penal Code Ann. § 22.02 (West Supp. 2009).  The trial court
deferred adjudication and placed appellant on community supervision for ten years.  In June 2009,
following a hearing on the State's motion to adjudicate, the court adjudged appellant guilty and
imposed a sentence of eighteen years' imprisonment.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
record&nbsp;demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed.

We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeal is frivolous.  Counsel's motion to withdraw
is&nbsp;granted.

The judgment of conviction is affirmed.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Affirmed

Filed:   May 5, 2010

Do Not Publish


